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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION


    In re:                                                     Chapter 11

    H-Food Holdings, LLC, et al.,1                             Case No. 24-90586 (ARP)

                                       Debtors.                (Jointly Administered)



NOTICE OF WITHDRAWAL OF (1) OBJECTION OF THE OFFICIAL COMMITTEE
  OF UNSECURED CREDITORS TO THE DEBTORS’ MOTION FOR ENTRY OF
ORDER (I) AUTHORIZING AND APPROVING THE DEBTORS’ (A) KEY EMPLOYEE
   RETENTION PLAN AND (B) KEY EMPLOYEE INCENTIVE PLAN, AND (II)
    GRANTING RELATED RELIEF [ECF NO. 455]; AND (2) MOTION OF THE
  OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN
   ORDER (I) AUTHORIZING THE COMMITTEE TO FILE UNDER SEAL AND
    REDACT AND FILE THE OBJECTION TO THE DEBTORS’ MOTION FOR
  APPROVAL OF KEY EMPLOYEE RETENTION PLAN AND KEY EMPLOYEE
  INCENTIVE PLAN AND THE KEARNS DECLARATION AND (II) GRANTING
                    RELATED RELIEF [ECF NO. 456]

             The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 cases (the “Chapter 11 Cases”) of the above-captioned debtors in possession

(collectively, the “Debtors”), by and through its undersigned counsel, hereby withdraws without

prejudice the Objection of the Official Committee of Unsecured Creditors to the Debtors’ Motion

for Entry of Order (I) Authorizing and Approving the Debtors’ (A) Key Employee Retention Plan




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: H-Food Holdings, LLC (6072); HFS Sub, LLC (8177); HFS Matterhorn Topco, Inc. (0765);
      Matterhorn Parent, LLC (4445); Matterhorn Intermediate, LLC (1574); Matterhorn Buyer, LLC (0335);
      Hearthside USA – Corporate, Inc. (3174); Hearthside Holdco, LLC (6206); Hearthside Finance Company, Inc.
      (8294); Hearthside Food Solutions, LLC (8653); Interbake Foods, LLC (7640); Ryt-way Midco, LLC (4388);
      Peacock Engineering Company II, LLC (N/A); Hearthside USA, LLC (7655); Hearthside USA – CPG Partners,
      LLC (2282); Oak State Products, LLC (1822); Standard Functional Foods Group, LLC (4160); Quality Bakery
      Products, LLC (0528); Toll Packaging Services LLC (5955); Ryt-way Industries, LLC (0783); Matterhorn Sub,
      LLC (N/A); Peacock Foods LLC (N/A); and Hearthside USA – Produce & Foodservice, LLC (0783). The
      Debtors’ service address is 3333 Finley Road, Suite 800, Downers Grove, IL 60515.
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and (B) Key Employee Incentive Plan, and (II) Granting Related Relief [ECF No. 455], and the

Motion of the Official Committee of Unsecured Creditors for Entry of an Order (I) Authorizing

the Committee to File Under Seal and Redact and File the Objection to the Debtors’ Motion for

Approval of Key Employee Retention Plan and Key Employee Incentive Plan and the Kearns

Declaration and (II) Granting Related Relief [ECF No. 456].

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Dated: February 27, 2025              Respectfully submitted,
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                                       Counsel to the Official Committee of Unsecured
                                       Creditors
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                                CERTIFICATE OF SERVICE

        I certify that on February 27, 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                 /s/ Charles R. Gibbs
                                                 Charles R. Gibbs
